

People v Stephens (2025 NY Slip Op 02135)





People v Stephens


2025 NY Slip Op 02135


Decided on April 10, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 10, 2025

Before: Kern, J.P., Kennedy, Gesmer, Pitt-Burke, O'Neill Levy, JJ. 


Ind No. 2429/18, 1128/19, 1434/19, 327/20, 466/20, 942/20|Appeal No. 4081|Case No. 2021-02275|

[*1]The People of The State of New York, Respondent, 
v Malik Stephens, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Frank Xiao of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Christopher P. Marinelli of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Albert Lorenzo, J.), rendered March 09, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 10, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








